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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division
__________________________________________
                                               )
   HWS, LLC,                                   )
                                               )
                        Plaintiff,             )
                                               )
                 v.                            )       Civil Action No. 1:23-cv-1289
                                               )
   BWE INC., ET AL.,                           )
                                               )
                        Defendants.            )
                                               )
                                               )

                                            ORDER

       This matter is before the Court on Plaintiff HWS, LLC’s Amended Motion for Default

Judgment (the “Motion”), [Doc. No. 18], pursuant to Rule 55(b) of the Federal Rules of Civil

Procedure. On December 8, 2023, the Magistrate Judge issued a report with proposed findings of

fact and recommendations, [Doc. No. 32] (the “R&R”), recommending that default judgment be

entered in favor of Plaintiff and against the Defendant BWE, Inc. (“BWE”) for reimbursement

under Va. Code Ann. § 46.2-1212.1. Specifically, the R&R recommends that the Court order the

entry of default judgment with an award of $104,911.64 in damages, along with prejudgment

interest at a rate of six (6) percent. The R&R further recommends that the Court deny Plaintiff’s

request for attorneys’ fees, in light of Plaintiff’s failure to show why the award would be

reasonable or necessary. See [Doc. No. 32] at 13.

       The Court conducted a de novo review of the evidence in this case and adopts and

incorporates the findings and recommendations of the Magistrate Judge. Accordingly, it hereby

       ORDERED that the Motion [Doc. No. 18] be, and the same hereby is, GRANTED in part

and DENIED in part. It is GRANTED as to the damages and prejudgment interest sought and it
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is DENIED without prejudice with respect to the request for attorneys’ fees and costs; and it is

further

          ORDERED that any further motions for attorneys’ fees and costs be filed within fourteen

(14) days of this Order with any necessary supporting documentation.

          The Clerk is directed to enter judgment in accordance with this Order in favor of Plaintiff

pursuant to Fed. R. Civ. P. 58 and to forward copies of this Order to all counsel of record and to

BWE at 1754 Forest Parkway, Morrow, GA, 30260, and to BWE’s registered agent, Markesha

Crossman, at 183 Radcliff Drive, McDonough, GA, 30253. The Clerk is further directed to close

this case.



Alexandria, Virginia
January 3, 2023
